                                  In the
                             Court of Appeals
                     Second Appellate District of Texas
                              at Fort Worth
                                 No. 02-24-00086-CV

IN RE: THE COMMITMENT OF ROGER             §   On Appeal from the 372nd District
DALE GIBSON                                    Court

                                           §   of Tarrant County (D372-S-15388-23)

                                           §   August 22, 2024

                                           §   Memorandum Opinion by Justice Kerr

                                    JUDGMENT

      This court has considered the record on appeal in this case and holds that there

was no error in the trial court’s judgment. It is ordered that the judgment of the trial

court is affirmed.


                                      SECOND DISTRICT COURT OF APPEALS


                                      By _/s/ Elizabeth Kerr__________________
                                         Justice Elizabeth Kerr
